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 4
     Attorney for Defendant
 5   JOSE COBIAN
 6
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10 UNITED STATES OF AMERICA,
                                                          Case No. 2:09-cr-0501 WBS
11                   Plaintiff,

12 v.
                                                          STIPULATION AND [PROPOSED] ORDER
13                                                        TO CONTINUE STATUS CONFERENCE
     JOSE COBIAN, et al.
14
                     Defendant.
15
16
17
18                                                STIPULATION
19            Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jill Thomas, defendant, Gerardo Rangel, by and through his counsel, Clemente M.
21   Jimenez, and defendant, Jose Cobian, by and through his counsel, Erin J. Radekin, agree and
22   stipulate to vacate the date set for status conference, June 6, 2011 at 8:30 a.m., and to continue the
23   status conference until July 18, 2011 at 8:30 a.m., in the courtroom of the Honorable William B.
24   Shubb.
25            The reason for this request is that the parties are still involved in plea negotiations. The
26   Court is advised that Ms. Thomas and Mr. Jimenez concur with the request for a continuance and
27   have authorized Ms. Radekin to sign this stipulation on their behalf.
28            The parties further agree and stipulate that the time period from the filing of this stipulation
     until July 18, 2011 should be excluded in computing time for commencement of trial under the
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 1   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 2   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 3   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 4   outweigh the best interests of the public and the defendant in a speedy trial.
 5          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6   IT IS SO STIPULATED
 7   Dated: June 2, 2011                                      BENJAMIN WAGNER
                                                              United States Attorney
 8
                                                       By:           /s/ Jill Thomas
 9                                                            JILL THOMAS
                                                              Assistant United States Attorney
10
11   Dated: June 2, 2011                                            /s/ Clemente M. Jimenez
                                                              CLEMENTE M. JIMENEZ
12                                                            Attorney for Defendant
                                                              GERARDO RANGEL
13
14   Dated: June 2, 2011                                            /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
15                                                            Attorney for Defendant
                                                              JOSE COBIAN
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 1                                                   ORDER
 2          For the reasons set forth in the accompanying stipulation and declaration of counsel, the
 3   status conference of June 6, 2011 at 8:30 a.m. is VACATED and the above-captioned matter is set
 4   for status conference on July 18, 2011 at 8:30 a.m. The court finds excludable time in this matter
 5   through July 18, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow continuity
 6   of counsel and to allow reasonable time necessary for effective defense preparation. For the reasons
 7   stipulated by the parties, the Court finds that the interest of justice served by granting the request
 8   outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
 9   3161(h)(7)(A), (h)(7)(B)(iv).
10   IT IS SO ORDERED.
11   Dated: June 6, 2011
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